             IN THE UNITED STATES DISTRICT COURT FOR THE
                    WESTERN DISTRICT OF OKLAHOMA

BRITTNEY BUCKNER and                 )
VANCE DOTSON,                        )
                                     )
                 Plaintiffs,         )
                                     )                  Case No. CIV-22-002-D
v.                                   )
                                     )
ENHANCED RECOVERY COMPANY, LLC, )
and ACCOUNT RESOLUTION SERVICES      )
d/b/a HEALTHCARE REVENUE RECOVERY )
GROUP, LLC, and CAC FINANCIAL CORP., )
                                     )
                 Defendants.         )


                                         ORDER

       Before the Court is Plaintiffs’ Motion to Remove Plaintiff Brittney Buckner [Doc.

No. 22]. Plaintiffs Brittney Buckner and Vance Dotson, who appear pro se, purport to

voluntarily dismiss the claims of Brittney Buckner under Fed. R. Civ. P. 41(a)(1)(A)(ii).

However, a dismissal under this provision requires “a stipulation of dismissal signed by all

parties who have appeared,” which would include Defendants CAC Financial Corp. and

Account Recovery Services d/b/a Healthcare Revenue Recovery Group, LLC.1 Further,

because an opposing party has served an answer, Plaintiffs’ filing is ineffective to operate

as a notice of dismissal under Rule 41(a)(1)(A)(i).

       Upon consideration, the Court finds that Plaintiffs’ Motion should be treated as a

motion for dismissal under Rule 41(a)(2). Plaintiffs shall serve their Motion on all



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         The latter defendant has represented in motions that its correct name is Healthcare
Revenue Recovery Group, LLC d/b/a ARS Account Resolution Services.
Defendants as required by Fed. R. Civ. P. 5(a) and the Court’s ECF Policies & Procedures

Manual, § II.B. Any objection or response is due within the usual time. See LCvR7.1(g).

         Contemporaneously with Plaintiffs’ Motion, Plaintiff Vance Dotson has filed a

renewed Motion for Leave to File Amended Complaint [Doc. No. 23] under Fed. R. Civ.

P. 15(a)(2). This Motion does not satisfy the requirement of LCvR15.1 to state whether

any party objects, and the Court will treat it as an opposed motion. Further, it does not

show service on the opposing parties. Plaintiff Vance Dotson shall serve his Motion on all

Defendants as required by Fed. R. Civ. P. 5(a) and the Court’s ECF Policies & Procedures

Manual, § II.B. Any objection or response is due within the usual time. See LCvR7.1(g).

         IT IS THEREFORE ORDERED that the Court reserves a ruling on Plaintiffs’

Motion to Remove Plaintiff Brittney Buckner [Doc. No. 22] and Plaintiff Vance Dotson’s

Motion for Leave to File Amended Complaint [Doc. No. 23] pending compliance with this

Order.

         IT IS SO ORDERED this 7th day of February, 2022.




                                                          . DeGIUSTI
                                             Chief United States District Judge




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